               Case 2:18-bk-56656                     Doc 8          Filed 10/24/18 Entered 10/24/18 15:31:55            Desc Main
                                                                     Document      Page 1 of 4

 Fill in this information to identify your case:

 Debtor 1                  Matthew Gordon Hamilton
                           First Name                       Middle Name              Last Name

 Debtor 2                  Briana Lynn Hamilton
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF OHIO

 Case number            2:18-bk-56656
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Beach Quarters                                       Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        Timeshare                                         Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:



    Creditor's         CarMax Auto Finance                                  Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        2015 Subaru Outback                               Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:



    Creditor's         Orange Lake Resorts                                  Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        Timeshare                                         Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
            Case 2:18-bk-56656                        Doc 8          Filed 10/24/18 Entered 10/24/18 15:31:55                        Desc Main
                                                                     Document      Page 2 of 4

 Debtor 1      Matthew Gordon Hamilton
 Debtor 2      Briana Lynn Hamilton                                                                   Case number (if known)   2:18-bk-56656

    securing debt:



    Creditor's     Park National Bank                                       Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of      2013 Toyota Tacoma                                  Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:



    Creditor's     Sheffield Financial                                      Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of      2014 Kawasaki Dirtbike                              Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:



    Creditor's     Sheffield Financial                                      Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of      2018 Aluminum Trailer Co Trailer                    Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:



    Creditor's     TEG Federal Credit Union                                 Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of      2015 Ford Transit                                   Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:



    Creditor's     The Community Loan Co                                    Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of      Woodburner                                          Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:



    Creditor's     USAA Federal Savings Bank                                Surrender the property.                                 No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                    Yes
    Description of      24076 Beach Rd Glouster, OH                         Reaffirmation Agreement.
    property            45732                                               Retain the property and [explain]:
    securing debt:



    Creditor's     Yamaha Motor Finance                                     Surrender the property.                                 No



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                     page 2

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
             Case 2:18-bk-56656                       Doc 8          Filed 10/24/18 Entered 10/24/18 15:31:55                            Desc Main
                                                                     Document      Page 3 of 4

 Debtor 1      Matthew Gordon Hamilton
 Debtor 2      Briana Lynn Hamilton                                                                   Case number (if known)    2:18-bk-56656

     name:                                                                   Retain the property and redeem it.                         Yes

                                                                            Retain the property and enter into a
     Description of     2017 Yamaha 85cc Dirtbike                           Reaffirmation Agreement.
     property                                                               Retain the property and [explain]:
     securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Briana Lynn Hamilton, as attorney-in-fact for                            X /s/ Briana Lynn Hamilton
       Matthew Gordon Hamilton
       Matthew Gordon Hamilton                                                          Briana Lynn Hamilton
       Signature of Debtor 1                                                            Signature of Debtor 2

       Date        October 24, 2018                                                 Date     October 24, 2018




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 3

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
Case 2:18-bk-56656      Doc 8     Filed 10/24/18 Entered 10/24/18 15:31:55           Desc Main
                                  Document      Page 4 of 4


                                CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing Statement of Intention was served
  (i) electronically on the date of filing through the court’s ECF System on all ECF
  participants registered in this case at the email address registered with the court and (ii)
  by ordinary U.S. Mail on October 24, 2018 addressed to:

  Matthew Hamilton                                 Sheffield Financial
  7772 G Montgomery St                             Attn: Chief Financial Officer
  Fort Knox KY 40121                               6010 Golding Center Dr
                                                   Winston Salem NC 27103-9815
  Briana Hamilton
  9076 Salem Hollow Rd                             TEG Federal Credit Union
  New Straitsville OH 43766                        Attn: Chief Financial Officer
                                                   1 Commerce St
  Beach Quarters                                   Poughkeepsie NY 12603
  Diamond Resorts Financial Services Inc
  PO Box 60480                                     The Community Loan Co
  Los Angeles CA 90060-0480                        Attn: Chief Financial Officer
                                                   2919 Maysville Pike
  CarMax Auto Finance                              Zanesville OH 43701
  Attn: Chief Financial Officer
  PO Box 440609                                    USAA Federal Savings Bank
  Kennesaw GA 30160-9511                           Attn: Chief Financial Officer
                                                   PO Box 619094
  Orange Lake Resorts                              Dallas TX 75261-9741
  Attn: Chief Financial Officer
  8505 W Irlo Brownson Memorial Hwy                Yamaha Motor Finance
  Kissimmee FL 34747                               Attn: Chief Financial Officer
                                                   PO Box 84240
  Park National Bank                               Sioux Falls SD 57118
  Attn: Chief Financial Officer
  PO Box 3500
  Newark OH 43058-3500

                                                /s/ Crystal I. Zellar
                                               Crystal I. Zellar (#0038785)
                                               Shelley E. Hibburt (#0091736)
                                               Zellar & Zellar, Attorneys at Law, Inc.
                                               720 Market Street
                                               Zanesville, Ohio 43701
                                               Telephone: (740) 452-8439
                                               Facsimile: (740) 450-8499
                                               mail@ZellarLaw.com
                                               Counsel for Debtors
